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 7

 8                               UNITED STATES DISTRICT COURT

 9                              EASTERN DISTRICT OF CALIFORNIA
10

11 UNITED STATES OF AMERICA,                   )               CASE NO. 2:15-CR-0234-JAM
                                               )
12                     Plaintiff,              )               ORDER TO
                                               )               CONTINUE SENTENCING
13               v.                            )
                                               )
14   HUNG CAO NGUYEN,                          )
15                                             )
                       Defendant.              )
16                                             )
     __________________________________________)
17

18          IT IS HEREBY ORDERED that:
19          The sentencing in this matter is continued from January 16, 2018 at 9:15 a.m. to March 13,
20
     2018 at 9:15 a.m. in Courtroom 6, with the following schedule:
21
            Motion for Correction of the Presentence Report:                  February 27, 2018
22
            Reply, or Statement of Non-Opposition to Motion for Correction: March 6, 2018
23

24          Defendant’s Position Re Sentencing Factors:                       March 6, 2018

25          IT IS SO ORDERED.

26 DATED: 12/13/17                               /s/ John A. Mendez________________________
                                                 HONORABLE JOHN A. MENDEZ
27
                                                 UNITED STATES DISTRICT COURT JUDGE
28
